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                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA


   DONALD J. TRUMP,

                          Plaintiff,

                v.                                   Case No. 2:22-cv-14102-DMM

   HILLARY R. CLINTON, et al.,

                          Defendants.



              [PROPOSED] ORDER GRANTING MICHAEL
           BOSWORTH’S UNOPPOSED MOTION FOR LEAVE TO
       WITHDRAW AS COUNSEL FOR DEFENDANT MICHAEL SUSSMAN

         Before the Court is attorney Michael Bosworth’s unopposed motion to

   withdraw as at counsel for Defendant Michael Sussman. (the “Motion,” ECF No. ___.)

   The Motion is GRANTED. The Clerk of Court is instructed to terminate Michael

   Bosworth as counsel of record in this case.

         DONE AND ORDERED, in chambers, at West Palm Beach, Florida, on July

   ___, 2022.




                                                 Donald M. Middlebrooks
                                                 United States District Judge
